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 7                           UNITED STATES DISTRICT COURT
 8                        WESTERN DISTRICT OF WASHINGTON
 9
                                            AT TACOMA
10

11   STEPHANIE WILSON,            )              Case No.
                                  )
12
     Plaintiff,                   )              COMPLAINT FOR VIOLATION
13                                )              OF   FEDERAL   FAIR   DEBT
14          vs.                   )              COLLECTION PRACTICES ACT
                                  )
15
     MERCHANTS         &   MEDICAL)
16   CREDIT CORPORATION, INC.)
     AND        KOHL’S  DEPARTMENT)
17
     STORES, INC.,                )
18                                )
19
     Defendants.                  )

20
                                       NATURE OF ACTION
21
            1.      This is an action brought under the Fair Debt Collection Practices
22

23   Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
24
                                  JURISDICTION AND VENUE
25

26          2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28
27
     U.S.C. § 1331.
     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-1                          WEISBERG & MEYERS, LLC
                                                              3877 N. Deer Lake Rd.
                                                              Loon Lake ,WA 99148
                                                              509-232-1882
                                                              866-565-1327 facsimile
                                                              jrobbins@AttorneysForConsumers.com
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 1          3.       Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),
 2
     where the acts and transactions giving rise to Plaintiff’s action occurred in this
 3

 4   district, where Plaintiff resides in this district, and/or where Defendants’ transact
 5
     business in this district.
 6

 7                                          PARTIES
 8
            4.       Plaintiff, Stephanie Wilson (“Plaintiff”), is a natural person who at
 9
     all relevant times resided in the State of Washington, County of Clallam, and City
10

11   of Port Angeles.
12
            5.       Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
13

14          6.       Defendant, Merchants & Medical Credit Corporation, Inc.
15
     (“M&MCC”) is an entity which all relevant times was engaged, by use of the
16

17
     mails and telephone, in the business of attempting to collect a “debt” from

18   Plaintiff, as defined by 15 U.S.C. §1692a(5).
19
            7.       M&MCC is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
20

21          8.       Defendant, Kohl’s Department Stores, Inc., (“Kohl’s”) is an entity
22
     who acquires debt in default merely for collection purposes, and who at all
23

24   relevant times was engaged in the business of attempting to collect a debt from
25
     Plaintiff.
26
            9.       Kohl’s is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-2                              WEISBERG & MEYERS, LLC
                                                                  3877 N. Deer Lake Rd.
                                                                  Loon Lake ,WA 99148
                                                                  509-232-1882
                                                                  866-565-1327 facsimile
                                                                  jrobbins@AttorneysForConsumers.com
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 1
                                    FACTUAL ALLEGATIONS
 2
            10.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a
 3

 4   debt owed or due, or asserted to be owed or due a creditor other than M&MCC.
 5
            11.     Plaintiff’s obligation, or alleged obligation, owed or due, or asserted
 6

 7   to be owed or due a creditor other than M&MCC, arises from a transaction in
 8
     which the money, property, insurance, or services that are the subject of the
 9
     transaction were incurred primarily for personal, family, or household purposes.
10

11          12.     Plaintiff incurred the obligation, or alleged obligation, owed or due,
12
     or asserted to be owed or due a creditor other than M&MCC.
13

14          13.     M&MCC uses instrumentalities of interstate commerce or the mails
15
     in a business the principal purpose of which is the collection of any debts, and/or
16

17
     regularly collects or attempts to collect, directly or indirectly, debts owed or due,

18   or asserted to be owed or due another.
19
            14.     Kohl’s purchases debts once owed or once due, or asserted to be
20

21   once owed or once due a creditor.
22
            15.     Kohl’s acquired Plaintiff’s debt once owed or once due, or asserted
23

24   to be once owed or once due a creditor, when the debt was in default.
25
            16.     Kohl’s is thoroughly enmeshed in the debt collection business, and
26
     Kohl’s is a significant participant in M&MCC’s debt collection process.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-3                               WEISBERG & MEYERS, LLC
                                                                   3877 N. Deer Lake Rd.
                                                                   Loon Lake ,WA 99148
                                                                   509-232-1882
                                                                   866-565-1327 facsimile
                                                                   jrobbins@AttorneysForConsumers.com
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 1          17.     Defendant M&MCC, and/or Defendant Kohl’s, sent Plaintiff written
 2
     correspondence, placed upon Defendant M&MCC’s letterhead and dated January
 3

 4   21, 2010, in which it was stated, in relevant part: “[w]e assigned this account to
 5
     our professional debt collector because you failed to voluntarily pay this
 6

 7   obligation.”
 8
            18.     Defendant Kohl’s is a business primarily engaged in the business of
 9
     retail sales, while Defendant M&MCC is a business primarily engaged in the
10

11   business of collecting debts.
12
            19.     For such statement to be purportedly made by Defendant M&MCC,
13

14   that as a professional debt collector, it assigned a debt to its professional debt
15
     collector, is a confusing, misleading and deceptive statement, and a
16

17
     misrepresentation of the character and status of the alleged debt, namely, that

18   such debt was in the possession of a professional debt collector.
19
            20.     Furthermore, such statement indicates that rather than having been
20

21   drafted and sent by Defendant M&MCC, the letter was in actuality designed,
22
     compiled, and furnished as a form letter by Defendant Kohl’s to Defendant
23

24   M&MCC, with knowledge that it would be used to create the belief in consumers
25
     that persons other than Defendant Kohl’s, namely Defendant M&MCC, was
26
     participating at the time the letter was sent to Plaintiff in an attempt to collect a
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-4                            WEISBERG & MEYERS, LLC
                                                                3877 N. Deer Lake Rd.
                                                                Loon Lake ,WA 99148
                                                                509-232-1882
                                                                866-565-1327 facsimile
                                                                jrobbins@AttorneysForConsumers.com
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 1   debt, when in truth M&MCC was not participating at that time, a prohibited
 2
     activity commonly referred to as “flat-rating.”        (15 U.S.C. §§ 1692e(2)(A),
 3

 4   1692e(10), 1692j(a)).
 5
            21.     Defendant(s) further stated in the January 21, 2010 letter that
 6

 7   Plaintiff should “[c]ontact [M&MCC] to avoid further collection procedure,” and
 8
     that “If we do not hear from you, then we will proceed with further collection
 9
     means now at our disposal.”
10

11          22.     In actuality, after said letter was sent, Plaintiff did not contact
12
     Defendant(s), yet no further collections activity of any kind was taken by
13

14   Defendant, evidencing the threat therein to be an act Defendant(s) did not intend
15
     to take. (15 U.S.C. §§ 1692e(5), 1692e(10)).
16

17
            23.     Defendants’ actions constitute conduct highly offensive to a

18   reasonable person.
19
                         COUNT I—VIOLATIONS OF THE FDCPA
20
                                DEFENDANT M&MCC
21

22
            24.     Plaintiff repeats and re-alleges each and every allegation above.

23          25.     Defendant M&MCC violated the FDCPA as detailed above.
24
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
25

26                a) Adjudging that M&MCC violated the FDCPA;
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-5                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
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                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,
 2
                     in the amount of $1,000.00;
 3

 4                c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 5
                  d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
 6

 7                   this action;
 8
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as
 9
                     may be allowed under the law;
10

11                f) Awarding such other and further relief as the Court may deem just
12
                     and proper.
13

14                       COUNT II—VIOLATIONS OF THE FDCPA
                                 DEFENDANT KOHL’S
15

16

17
            26.      Plaintiff repeats and re-alleges each and every allegation above.

18          27.      Defendant Kohl’s violated the FDCPA as detailed above.
19
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
20

21                a) Adjudging that Kohl’s violated the FDCPA;
22
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,
23

24                   in the amount of $1,000.00;
25
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
26
                  d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-6                              WEISBERG & MEYERS, LLC
                                                                  3877 N. Deer Lake Rd.
                                                                  Loon Lake ,WA 99148
                                                                  509-232-1882
                                                                  866-565-1327 facsimile
                                                                  jrobbins@AttorneysForConsumers.com
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 1                  this action;
 2
                e) Awarding Plaintiff any pre-judgment and post-judgment interest as
 3

 4                  may be allowed under the law;
 5
                f) Awarding such other and further relief as the Court may deem just
 6

 7                  and proper.
 8
                                            TRIAL BY JURY
 9

10
                    Plaintiff is entitled to and hereby demands a trial by jury.

11

12                  Respectfully submitted this 15th day of November, 2010.
13

14

15                                              s/Jon N. Robbins
                                                Jon N. Robbins
16
                                                WEISBERG & MEYERS, LLC
17                                              Attorney for Plaintiff
18

19

20

21

22

23

24

25

26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-7                               WEISBERG & MEYERS, LLC
                                                                   3877 N. Deer Lake Rd.
                                                                   Loon Lake ,WA 99148
                                                                   509-232-1882
                                                                   866-565-1327 facsimile
                                                                   jrobbins@AttorneysForConsumers.com
